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                           IN THE UNITED STATES DISTRICT COURT
                          FOR THE NORTHERN DISTRICT OF GEORGIA
                                     ATLANTA DIVISION

            UNITED STATES OF AMERICA                       CRIMINAL INDICTMENT
            v.                                             NO. 1:11-CR-462-WSD-GGB
            GUADALUPE FLORES, ROBERTO
            BUSTOS OCAMPO, EDGAR RAMOS
            GONZALES, ARMANDO SOTO-
            ENRIQUEZ and NORMAN ISAI
            ALARCON-MEJIA,
                                 Defendants.


                            FINAL REPORT AND RECOMMENDATION

                 Defendants Soto-Enriquez (“Defendant Soto” or “Soto”) and Alarcon-Mejia

           (“Defendant Mejia” or “Mejia”) are charged with conspiracy and possession with

           the intent to distribute cocaine, in violation of 21 United States Code, Sections 846,

           841(a) and 841(b). Pending before this court are Defendant Soto’s Motion to

           Suppress Evidence and two motions to suppress identification [Docs. 80, 81, and

           82]; and Defendant Mejia’s Motion to Suppress Evidence and Motion to Suppress

           Identification [Docs. 74 and 76]. An evidentiary hearing on these motions was held

           before me on January 18, 2012. All transcript references are to the transcript of that

           hearing. My recommendations follow.




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           I.    FACTS

                 Sometime before August 27, 2011, agents of United States Customs and

           Border Patrol discovered that a tractor-trailer that crossed the border from Mexico

           into the United States contained cocaine hidden in the trailer’s shipment of frozen

           squid. The tractor-trailer was headed to Atlanta. On August 27, 2011, agents with

           Homeland Securities Investigations (HSI) of the United States Department of

           Immigration and Customs Enforcement (ICE) conducted a controlled delivery of

           that tractor-trailer to its destination at a warehouse in Atlanta. (T. 3, 9-10).

                 After the tractor-trailer arrived at the warehouse, agents conducted constant

           surveillance of it in an attempt to identify the individuals who were involved with

           the cocaine. (T. 11).

                 The warehouse is off Browns Mill Road in an industrial area behind two other

           buildings. There is a long driveway off of Browns Mill Road that runs between the

           two other buildings and leads to the warehouse. (T. 11, 20; Gov. Ex. 11A, 11B).

           The few other businesses nearby include a recycling business attached to the

           warehouse and a MARTA maintenance facility accessed by a different driveway.

           Only the MARTA maintenance facility was open on the weekends. (T. 11, 17). The

           only vehicles that the agents had ever seen pull into the driveway leading to the

           warehouse were vehicles going to the warehouse or vehicles carrying employees of


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           the recycling business. (T. 17, 40). The recycling business was open standard

           business hours during the day. (T. 39).

                 From the time of the delivery on August 27, 2011, until September 3, 2011,

           agents conducting surveillance did not see any activity (other than their own) at the

           warehouse during the evening or nighttime hours. During that period of time, the

           smell of the rotting squid in which the cocaine was hidden could be smelled at least

           a quarter-mile away from the warehouse. (T, 12, 38)

                 On Saturday, September 3rd, Jeff DaRin, Special Agent, Homeland Security,

           (“Agent DaRin”), who was conducting surveillance, observed two men arrive at the

           warehouse, enter the part of the warehouse where the drugs were located, remain

           inside for approximately 20 to 30 minutes, and then leave. Agents followed their

           car which was eventually stopped by a Georgia State Patrol trooper for a traffic

           violation.1 The driver of the car was Alfonso Alarcon-Mejia (“Alarcon”) (not a

           defendant), and the passenger was Defendant Soto. (T. 13-15). Agent DaRin

           observed the stop through binoculars from about 75 yards away. He could see Soto

           clearly through the car’s windshield. (T. 41). The trooper who made the stop told

           Agent DaRin that both men in the car smelled strongly of rotten squid. (T. 15).




                 1
                     Defendants do not challenge the stop of this car.

                                                        3


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                 The next day, Sunday, September 4, 2011, agents saw three men arrive at the

           warehouse in a truck, go inside the warehouse, unload the cocaine from the squid,

           place the cocaine inside their truck, and leave. When troopers stopped the truck,

           agents found over 200 kilograms of cocaine inside.2 (T. 3, 16, 45).

                 Later that evening, agents were at the warehouse preparing to execute a search

           warrant for the warehouse. Police vehicles with blue lights flashing and fire

           department personnel were present at the location. Agent DaRin was present with

           other agents to provide perimeter coverage during the execution of the search

           warrant. (T. 59-60, 86-7, 146).

                 Soon after the agents began to execute the search warrant, at about 8:30 p.m.,

           a Nissan Altima pulled about 15 to 25 feet into the driveway leading up to the

           warehouse. The vehicle was turned away by fire department personnel. The vehicle

           stopped, backed up, turned around, and drove away down the same driveway on

           which it had arrived. The vehicle then pulled out onto Browns Mill Road. Agents

           DaRin, Ballard and Tyler followed the vehicle on to Browns Mill Road and pulled it

           over. The legality of this stop is the primary issue in the defendants’ motions. (T.

           17, 20-1, 59, 92, 142).




                 2
                     Defendants do not challenge the stop of this truck.

                                                        4


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                 Agent DaRin approached the Altima and recognized the driver as Defendant

           Soto from the previous day’s traffic stop of the individuals who had entered the

           warehouse and smelled of rotten squid. The two passengers in the vehicle were

           Defendant Mejia and former Defendant Jaimes-Avila.3 (T. 22-3).

                 Agent DaRin asked Defendant Soto for a driver’s license. Soto produced a

           Mexican identification card. Agent DaRin recognized the name on the identification

           card as the name of the person who had been stopped the day before. (T. 22). Agent

           DaRin then asked Soto to step out of his vehicle, and he conducted a patdown of

           Soto’s person. DaRin asked Soto where they were going. Soto replied that they

           were lost and were looking for their hotel. (T. 24-5). James Ballard, Special Agent,

           Homeland Security, (“Agent Ballard”) read Soto his Miranda rights in Spanish and

           proceeded to question him. (T-25, 63-4).

                 At about the same time, other agents asked Defendant Mejia and former

           Defendant Jaimes-Avila to exit the vehicle. (T-26). Agents patted them down and

           read them their Miranda rights. In the search of all three men, agents found keys to

           two hotel rooms at the Rodeway Inn & Suites. (T-44, 90-1). They also found

           multiple cell phones and identification. (T. 24, 27-8, 51, 143).



                 3
                     The charges against Jaimes-Avila have been dismissed. (Doc. 121)

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                 In separate interviews, all three men said that they were Mexican businessmen

           who came to the United States to do some shopping; they had no knowledge of the

           cocaine in the warehouse; they did not hire anybody to go into the warehouse or do

           anything there; and they did not know the name of their hotel. (Tr. 47, 68).

                 Defendant Soto consented to a search of his vehicle. (T. 70). Agents found

           and inspected a GPS device that they found in the vehicle and determined that it

           contained the address of the Rodeway Inn, but not the address of the warehouse.

           Agents did not find anything in the vehicle or on Defendants’ persons connecting

           them to the warehouse or the drugs. Defendants signed an affidavit giving the

           agents consent to search their hotel rooms. (T. 43-4, 46, 132).

                 Shortly after searching the vehicle, and about an hour and a half after it was

           initially stopped, Steven Ledgerwood, Special Agent, Homeland Security, (“Agent

           Ledgerwood”) brought Hector Aguilar (“Aguilar”) to the scene of the stop to see if

           he could identify any of the individuals in the Altima. Aguilar was a cooperating

           witness who had informed government agents that he could identify individuals

           involved with the cocaine at the warehouse. Aguilar had previously informed Agent

           Ledgerwood that he had attended a meeting at a hotel the night before where he was

           hired and paid to move the cocaine from the warehouse to another location. Aguilar



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           said that two individuals called “Poncho” and “Brito” had been at the meeting at the

           hotel along with other individuals. (T. 98, 100, 106-07).

                 Agent Ledgerwood did not say anything to Aguilar about the traffic stop, nor

           did he describe Soto, Mejia, or Avila, mention their names, or show Aguilar any

           photos. (T. 98-100). During the 10 to 15 minute drive to the scene, Agent

           Ledgerwood sat in the front passenger seat, Agent Owen drove, and Aguilar sat in

           the middle of the back seat. (T. 28, 99). The only thing Agent Ledgerwood told

           Aguilar on the way to the scene was that agents had some people detained and the

           agents wanted Aguilar to see if he could identify them. (T. 99).

                 As soon as Aguilar and the agents arrived on the scene, Aguilar identified the

           vehicle as one he had seen at the hotel the night before. He also immediately

           recognized one of the men standing behind the vehicle. Agent Ledgerwood told

           Aguilar that he needed to wait because they were going to bring up each person

           individually. (T. 100).

                 Agent Ledgerwood turned on his car’s bright headlights. Agent Tyler asked

           Soto, Mejia, and Avila to stand individually in front of Agent Ledgerwood’s car.

           Soto, Mejia, and Avila were not handcuffed when they stood in front of the

           headlights; they merely walked up, looked around, and walked back. (T. 100-02).



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           There was a clear view from inside Agent Ledgerwood’s car to the men in front of

           the headlights. (T. 101).

                 Aguilar did not identify Soto, but said that he looked similar to, but was not

           the individual he knew as “Poncho,” who had talked to him the night before about

           moving the cocaine. (T. 101, 107). However, Aguilar did identify Mejia and Avila

           as being present at the meeting at the hotel the night before when he was hired to

           move the drugs. The three occupants of the vehicle were then arrested and taken

           into custody. At that point, it had been about two hours since the time of the traffic

           stop. (T. 101-104, 106-108).

                 Around 1:30 a.m. that morning, TFO Renan Lopez and Agent Roy

           interviewed Soto, Mejia and Avila at HSI’s office. TFO Lopez, a fluent Spanish

           speaker, read each defendant his Miranda rights in Spanish and confirmed that each

           man understood his rights. Each man said he wanted to speak with the agents. TFO

           Lopez did not make any promises or coerce any of the men to waive their rights. (T.

           122, 125-6)




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           II.   DISCUSSION

                 A.     Government agents had a reasonable articulable suspicion that
                        Defendants were engaged in criminal activity.

                 Defendants argue that the government agents did not have a lawful basis to

           stop their vehicle after they entered the driveway leading to the warehouse in which

           the cocaine had been stored.

                 It is well settled that law enforcement agents may briefly detain individuals

           for purposes of investigating a crime if they have a reasonable, articulable suspicion

           based on objective facts that the individual has engaged in, or is about to engage in,

           criminal activity. See Terry v. Ohio, 392 U.S. 1, 21 (1968). “[T]he reasonableness

           standard requires that a police officer be able to point to specific and articulable

           facts, which, when taken together with rational inferences from those facts,

           reasonably warrant that intrusion.” United States v. Mikell, 102 F.3d 470, 474-75

           (11th Cir. 1996) (citing Terry, 392 U.S. at 21)(internal quotation marks omitted).

           See also United States v. Blackman, 66 F.3d 1572, 1576 (11th Cir. 1995) (“The

           reasonableness of the officers’ conduct must be judged against an objective

           standard: would the facts available to the officer at the moment of the seizure or




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           search warrant a man of reasonable caution in the belief that the action taken was

           appropriate.”)(internal quotation marks and citations omitted).

                 As discussed above, before stopping the defendants’ vehicle, agents knew or

           had a reasonable basis to believe:

           !     At approximately 8:30 p.m. on a Sunday night, Defendants’ vehicle entered a

                 driveway leading up to a warehouse that up until a few hours earlier had

                 contained over 200 kilograms of cocaine hidden in a shipment of squid.

           !     The warehouse was in a predominantly industrial location that had little

                 traffic. Agents had been conducting constant surveillance. The only cars

                 agents had ever seen pulling into that driveway were cars going to the

                 warehouse or the cars (during the day) of employees of the recycling business

                 next door. The recycling business was closed at the time Defendants’ vehicle

                 pulled in the driveway.

                 The government argues that one of the circumstances justifying the stop was

           that the defendants fled from or evaded law enforcement. In support of that

           argument, the government cites United States v. Briggman, 931 F.2d 705 (11th Cir.

           1991) and United States v. Gordon, 231 F.3d 750 (11th Cir. 2000). See Doc. 148,

           pp. 21-22. In Briggman, the court found that an officer’s suspicion was reasonably



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           aroused when he noticed Briggman parked at 4:00 a.m. in a high crime area, when

           commercial establishments served by the lot were closed, and in departing the lot, he

           attempted to evade the officer. Id at p. 709. Similarly, in Gordon, the court relied

           on the fact that it was not merely presence in a high crime area, but the “affirmative

           and unequivocal attempt to flee upon sighting law enforcement that may support a

           Terry stop.” 231 F.3d at n.3.

                 Defendants emphasize that they were turned away by fire department

           personnel after they drove into the driveway leading to the warehouse, and thus,

           there was no indication that they were “evading” law enforcement when they turned

           around and left the property. They then argue that they could not lawfully be

           stopped merely for being in a high crime area. Defendants’ points are well taken;

           however, they are not sufficient to overcome the other factors that in totality

           provided reasonable suspicion for the stop of their vehicle.

                 To determine whether reasonable suspicion exists, courts evaluate a totality of

           the circumstances from the viewpoint of a reasonably well-trained officer, United

           States v. Smith, 201 F.3d 1317, 1323 (11th Cir. 2000), taking into account the fact

           that an experienced officer can infer criminal activity from conduct that may seem




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           innocuous to lay observers. United States v. Arvizu, 534 U.S. 266, 273–74, 122

           S.Ct. 744, 151 L.Ed.2d 740 (2002).

                 Setting aside the government’s contention that the defendants evaded or fled

           from law enforcement, the defendants were not stopped just for being in a high

           crime area. The agents knew that the defendants were approaching a warehouse that

           just hours before had contained over 200 kilograms of cocaine that someone had

           attempted to conceal in a truck entering the United States from Mexico. In addition,

           the presence of the defendants on the driveway leading to that warehouse at 8:30

           p.m. on a Sunday night was highly suspicious because the area was primarily

           industrial, the only other vehicles agents had ever seen in the area were going to the

           target location or the recycling business, and the recycling business was closed at

           that time. These factors, taken together, were sufficient for the agents to stop the

           defendants for a brief inquiry as to the reasons for their presence on the driveway

           leading to the warehouse that night.

                 B.     After the initial stop, there was probable cause to arrest the
                        Defendants

                 Once the stop and initial inquiries were made, the defendants’ presence

           became even more suspicious, justifying further detention of them. First, an agent

           immediately recognized Defendant Soto as one of the persons who had been inside


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           the warehouse the day before and smelled of rotting squid. Second, the defendants’

           story that they were lost, but did not know the name of their hotel, reasonably

           increased the agents’ level of suspicion, partly because the defendants’ hotel was

           two or three miles away across the expressway. (T. 53). For all of these reasons,

           the agents were justified in detaining the defendants while they conducted further

           investigation of their identity, background, and connection to the cocaine in the

           warehouse.

                 Finally, in addition to the evidence discussed above, Aguilar, a person who

           had been hired to move the cocaine, identified Defendant Mejia as one of the men

           present at a meeting at the hotel the night before where the arrangements for

           moving the drugs had been discussed.

                 Probable cause to arrest exists if the facts and circumstances within the

           knowledge of the arresting agents were sufficient to warrant people of reasonable

           caution to believe that the arrestee had committed a crime. See United States v.

           Long, 674 F.2d 848, 853 (11th Cir. 1982). Under the circumstances presented here,

           the agents clearly had probable cause to arrest the defendants. Cf. United States v.

           Tamari, 454 F.3d 1259, 1262–64 (11th Cir.2006) (finding that there was probable




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           cause to search a vehicle of a driver who arrived at the rural, isolated scene of drug

           activity driving a vehicle associated with the head of the drug conspiracy).

                 C.     Defendants present no other bases for suppression of evidence

                 As discussed above, I have rejected Defendants’ argument that the agents

           unlawfully detained or arrested them. Defendants present no other grounds for

           suppression of their property, their statements, or the identification made by Aguilar.

           For these reasons, all of Defendants’ motions to suppress should be denied.

                 III.   CONCLUSION

                 In sum, I RECOMMEND that Defendant Soto-Enriquez’ Motion to Suppress

           Evidence and two motions to suppress identification [Docs. 80, 81, and 82] be

           DENIED; and Defendant Alarcon-Mejia’s Motion to Suppress Evidence and

           Motion to Suppress Identification [Docs. 74 and 76] be DENIED.

                 Defendant Guadalupe Flores has entered a guilty plea; Defendants Bustos

           Ocampo and Ramos Gonzales filed no motions; and Defendant Jaimes-Avila was

           dismissed from the case by the government on March 20, 2012.

                 There are no pending matters before me, and I am aware of no problems

           relating to the scheduling of this case for trial. It is therefore ORDERED AND

           ADJUDGED that this action be declared READY FOR TRIAL.



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                It is so ORDERED and RECOMMENDED, this 15th day of May, 2012.



                                             GERRILYN G. BRILL
                                             UNITED STATES MAGISTRATE JUDGE




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